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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
       Plaintiff,                                     )           1:22-MJ-22-RRM
                                                      )
       v.                                             )
                                                      )
HEATHER R. MORGAN,                                    )
                                                      )
      Defendant.                                      )
__________________________________________


                                            ORDER

       Defendant, Heather Morgan, moved to modify the Conditions of Pretrial Release. The

government has consented.

       For the reasons stated therein, the Court GRANTS the motion. Ms. Morgan may now have

two specific devices, to include a smartphone, with internet connectivity and with computer

monitoring software installed by Pretrial Services.



SO ORDERED this _____ day of ____________, 2022

                                                      _____________________________
                                                      Hon. Robin M. Meriweather
                                                      United States Magistrate Judge
